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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA


                                          CASE NO.: 9:19-CV-80017


     ANV MANAGEMENT LLC

     MACAW HOLDINGS IV, LLC

     H. ALAN. WELLES

     Plaintiffs

     CITY OF RIVIERA BEACH, FLORIDA

             and

     BOVELL RICHARDS

     JOHN DOE 1

     JOHN DOES 2-4

             Defendants

     ________________________________________________________/

                  COMPLAINT WITH JURY DEMAND ENDORSED HEREON

             NOW COMES Plaintiffs ANV MANAGEMENT LLC, MACAW HOLDINGS IV,

     LLC and H. ALAN WELLES, by and through the undersigned counsel, and hereby

     sue and file this COMPLAINT against Defendants CITY OF RIVIERA BEACH,

     FLORIDA, BOVELL RICHARDS, JOHN DOE 1 AND JOHN DOES 2-4, and allege

     and aver as follows:

                                      NATURE OF CASE

             1.     This is action for money damages and injunctive relief is brought pursuant

     42 U.S.C. §1983, the Fourth and Fourteenth Amendments to the United States Constitution,



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     and under the laws of the State of Florida, against the City of Riviera Beach and current

     and/or former city officials and police officers.

            2.      Plaintiff Alan Welles is a local real estate investor and businessman, who

     has suffered various unlawful threats, intimidation, and retaliation by the City of Riviera

     Beach and its city officials and police officers. This began when Alan Welles met with the

     assistant to the Riviera Beach Police Chief, the Police internal affairs department and the

     City Manager, and requested that they bring charges against a Riviera Beach policeman

     who brandished a gun while displaying his badge at Alan Welles’ liquor store, and then,

     with two other accomplices, shot out the liquor store’s outdoor lights and walked away

     with merchandise without paying.

                                    JURISDICTION AND VENUE

            3.      This Court has subject matter jurisdiction, pursuant to 28 U.S.C. § 1331 and

     42 USCS § 1983, as well as principles of supplemental jurisdiction under 28 U.S.C. § 1367.

            4.      This Court is an appropriate venue for this action, pursuant to 28 U.S.C.

     §1391, because the material events or omissions upon which the claims are based occurred

     in this District, including Plaintiff’s ownership of real property within this District that is

     the subject of this lawsuit, and Defendants’ deprivation of Plaintiff’s procedural due

     process rights guaranteed by the Fourth and Fourteenth Amendment to the United States

     Constitution, which occurred within this District relating to said real property.

            5.      This Court has personal jurisdiction over Riviera Beach because it has a

     presence in the State of Florida as a Florida Municipality, and over Richards, John Doe 1

     and John Doe 2-4 because they employed by Riviera Beach and engaged in continuous and

     systematic conduct in the State of Florida by acting as a building official.




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                                         THE PARTIES

             6.      Plaintiff ANV Management LLC (“ANV”) is a limited liability company,

     organized under the laws of Florida, with a principal place of business at 315 President

     Barack Obama Highway, Riviera Beach, Florida 33404.

             7.      MACAW HOLDINGS IV, LLC (“Macaw”) is a limited liability company,

     organized under the laws of Florida, with a principal place of business at 4246 Okeechobee

     Blvd, Ste 101, West Palm Beach, Florida 33409.

             8.      H. ALAN WELLES (“Welles”) is an individual, over the age of eighteen,

     and is sui juris.

             9.      CITY OF RIVIERA BEACH (hereinafter, “Riviera Beach”) is a Florida

     municipality, located in Palm Beach County, Florida.

             10.     BOVELL RICHARDS (“Richards”) is a building official employed by

     Riviera Beach, within its Building and Inspection Department, and holds the title of

     Assistant Building Official.

             11.     JOHN DOE 1 (“John Doe 1”) is a Riveria Beach police officer who

     committed the wrongs alleged below, whose name is unknown.

             12.     JOHN DOES 2-4 (“John Does 2-4”) are unknown Riveria Beach police

     officers who threatened Welles, after he attempted to bring charges against the aforesaid

     police officer who engaged the unlawful conduct at Welles’ liquor store.

                                    GENERAL BACKGROUND

     A.      Plaintiffs’ Property/Business Interest

             13.     Welles is the sole owner/member of Macaw.

             14.     Welles is the fifty percent owner/member and manager of ANV.




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             15.     Macaw owns and operates a liquor store and bar business (“Liquor Store”)

     located at 4246 Okeechobee Blvd, Ste 101, West Palm Beach, Florida 33409.

             16.     ANV owns commercial real estate located at 315 President Barack Obama

     Highway, Riviera Beach, Florida 33404 ( “Rental Property”), which it purchased on May

     31, 2017.

             17.     The Rental Property has a building located thereon, built approximately 50

     years ago, which has commercial shopping space on the first floor and residential apart-

     ments on the second floor (hereinafter, the “Building”).

     B.      Riviera Beach’s Long Term And Pervasive Custom And Practice Of
             Violating The Constitutional Rights of Others

             18.     In Lozman v. City of Riviera Beach, 568 U.S. 115 (U.S. 2013), Riveria

     Beach lost a case in the United States Supreme Court to Fane Lozman, wherein Riveria

     Beach was alleged to have entered into a “back room” deal they made with private devel-

     oper to redevelop a marina where Lozamn moored a floating home, and then engaged in a

     persistent concerted campaign through its city administration and police department to si-

     lence and discredit Lozman through various unlawful act of false arrest, threats, retaliation

     and intimidation.

             19.     Not having changed its ways, in Lozman v. City of Riviera Beach, 568 S.

     Ct. 1945 (U.S. 2018), Riveria Beach lost yet another in the United States Supreme Court

     to Fane Lozman, wherein Riveria Beach was alleged to have arrested him for exercising

     his first amendment right to speak at a city council meeting, as part of its continued con-

     certed activity of its city officials to threaten, intimidate and retaliate against him for exer-

     cising his constitutional rights.




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            20.     On January 10, 2017, Riviera Beach hired Ladi A. Goldwire a/k/a Ladi A,

     March (“Goldwire”) as a building inspector in its building department. However, she

     lacked a required license at the time of hire, which was known by Riveria Beach.

            21.     From January 10, 2017 through May 7, 2017, Goldwire took action as a

     Building Official, without being a licensed Building Official or a provisional Building Of-

     ficial, which was a violation of Florida law and also known by Riveria Beach.

            22.     During this time period between January 10, 2017 through May 7, 2017,

     Goldwire was accused of many questionable practices by numerous individuals and com-

     panies, which were known by Riveria Beach.

            23.     In 2017, Riviera Beach and Goldwire were sued by Port of Palm Beach Cold

     Storage, Inc., in the Circuit Court of the 15th Judicial Circuit In and for Palm Beach County,

     Florida, assigned case no. 2017-CA-012388, relating to questionable practices of Goldwire

     and Riviera Beach.

            24.     In 2018, Goldwire was criminally charged by the Office of the State

     Attorney, with falsely holding out herself as a certificate holder, which is pending in the

     County Court of the 15th Judicial Circuit, in and for Palm Beach County, Florida, assigned

     Case No. 502018MM004959XXXNB.

     C.     Riviera Beach’s Violation Of Plaintiffs’ Constitutional Rights Through Its
            Police Department As Part Of This Long Term And Pervasive Custom And
            Practice of Violating Constitutional Rights

            25.     In October 2015, Welles’ Liquor Store was held-up at gunpoint when two

     of three individuals brandished guns at a walk-up window at the carry-out. After

     demanding and receiving a Redbull drink without paying, they proceeded to shoot out the

     exterior lights on the property and threatened to shoot employee and customers. One of




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     three individuals was John Doe 1, a Riviera Beach police officer, who asserted his official

     authority and showed the store clerk his Riviera Beach police badge, while he brandished

     a gun and threatened the store clerk to shoot him and customers.

              26.   Thereafter, Welles spoke with the assistant to the Riveria Beach Police

     Chief, internal affairs department, and the City Manager, and requested that charges be

     pressed against the Riviera Beach police officer and his accomplices.

              27.   Shortly thereafter, John Does 2-4, are believed to be two off-duty or plain

     clothes on-duty Riviera Beach police officers, came to the bar owned by Welles’s

     company, Macaw, located at 4246 Okeechobee Blvd, Ste 101, West Palm Beach, Florida

     33409, and threatened him with retaliation if he pressed charges against the officer. In the

     end, the Riviera Beach police officer was not arrested or charged, despite the fact that one

     of his accomplices, an alleged gun dealer, was arrested. Around the same time, John Does

     2-4, who are believed to be two Riviera Beach police officers, came the Liquor Store and

     threatened the store clerk with arrest and removing his children from his household, for the

     specific intent and purpose to intimidate him into not pressing charges. The Employee

     walked off the job and quit out of fear of retaliation of said police officers and Rivieria

     Beach.

              28.   Thereafter, the Riviera Beach police officers routinely began a practice of

     coming onto the Rental Property for no justifiable reason and without being invited, and

     harassing the patrons of a grocery mart that operates on the Property.

              29.   The Riviera Police Department has a practice and policy of not harassing

     similar business property owners if they pay Riviera Beach for police protection.

              30.   Plaintiffs refuse to pay for police protection.




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     D.     Riviera Beach’s Violation Of Plaintiffs’ Constitutional Rights Relating to
            the Rental Property Through Its Building Department As Part Of Its Long
            Term And Pervasive Custom And Practice

            31.     On August 25, 2017, ANV, as lessor, entered into a written commercial

     lease with Tangela Hill, as lessee (hereinafter, the “Lease”), whereby Plaintiff agreed to

     lease Suites 104 and 105 within the Building, which she intended to use to operate a retail

     beauty supplies and hair salon business (hereinafter, the “Salon Business”). The use applied

     for by the tenant was a permitted use and leasehold space had just previously been occupied

     by a salon/barbershop.

            32.     The term Lease was five years and three months.

            33.     The Lease required Tangela Hill to pay to Plaintiff as follows:

                    (i) Year One-$2500 month for rent plus $150.00 for water, sewer
                    trash and Sales Tax; and

                    (ii) A five percent (5%) increase in rent every year beginning
                    September 1, 2018.

            34.     A true, accurate and authenticate copy of the Lease is attached hereto as

     Exhibit A.

            35.     Tangela Hill took occupancy of the leasehold premises on or about August

     25, 2017.

            36.     On September 18, 2017, Tangela Hill submitted an application to Riviera

     Beach for a “Certificate of Use/Business Tax Receipt” for her Salon Business.

            37.     Pursuant to Article VII, Sec. 10-243, and Article V, Sec. 10-132, of the

     Code of Ordinance of the City of Riviera Beach, a Certificate of Use and Business Tax

     Receipt (hereinafter, the “COU/BTA”) needed to be issued by Riviera Beach as a condition

     of Tangela Hill opening her Salon Business.




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             38.     A true, accurate and authenticate copy of the application for the COU/BTA

     is attached hereto as Exhibit B.

             39.     In November 2017, over two months after submission of the application for

     the COU/BTA, Richards advised Welles that the application would not be processed by

     Riviera Beach, unless and until Welles identified all work that had ever been done to the

     Property without a permit, including work relating to electrical, plumbing, and mechanical.

     In other words, Richards did not deny the application for the COU/BTA, he refused to

     process it or act upon it.

             40.     Welles responded to Richards by explaining that he had just purchased the

     Property a few months earlier (on May 31, 2017) and had not performed any work requiring

     any permit, and that he had no idea whether unpermitted work had been performed on the

     Building in the past 50 plus years by the numerous prior owners, and that he needed

     Richards to specifically identify what he believed was unpermitted work or otherwise not

     code compliant.

             41.     The codified procedure of Riviera Beach, and throughout the United States,

     is for governmental officials to issue written warnings and/or citations that specify exactly

     why a building or property is not code compliant. The burden is never placed on the

     property owner to try to figure out whether their property is code compliant. These

     requirements are predicated on basic procedural due process rights.

             42.     Chapter 10, Article VII, Sec. 10-245, of the Riviera Beach Ordinances states

     the specific grounds that a COU can be denied and requires written notification of the

     grounds for the denial and the right to a hearing before a special master:

         “Enforcement procedures. Upon determination by the city that an owner/ap-
         plicant is in violation of the provisions of this article, the city shall notify, in



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         writing, the owner/applicant of the premises of the nature of the violation and
         provide notice of a hearing before the special magistrate pursuant to section 2-
         335, enforcement procedures. The conduct for such hearing shall be in con-
         formance with section 2-336, conduct of hearing. The special magistrate's find-
         ings and order shall constitute the final administrative action of the city for
         purposes of judicial review under state law.

          (1) Issuance or denial by the city. The city must either issue or deny issuance
          of a certificate of use within 40 days after application is made for such certifi-
          cate or for the renewal of the current certificate. An owner/applicant may also
          request a hearing as set forth herein before the special magistrate regarding the
          denial of the issuance of a certificate of use for that business by the city. The
          request for hearing must be in writing and filed with the city within ten days
          of the receipt of the written decision by the city.” (Ord. No. 3078, § 1 (5), 4-7-
          10).

             43.     Chapter 2, Article VI, Division 1, Sec. 2-311, of the Riviera Beach

     Ordinances states that a code enforcement officer must provide written notice of any code

     violations prior to issuing a citation, and then issue a citation if the code violation(s) is not

     cured no later than 30 days:

              “Prior to issuing a citation, a code enforcement officer shall provide notice
             to the person that the person has committed a violation of a code or ordi-
             nance and shall establish a reasonable time period within which the person
             must correct the violation. Such time period shall be no more than 30 days.
             If, upon personal investigation, a code enforcement officer finds that the
             person has not corrected the violation within the specified time period, a
             citation may be issued to the person who has committed the violation. How-
             ever, a reasonable time period to correct a violation prior to issuing a cita-
             tion is not required if the code enforcement officer has reason to believe that
             the violation presents a serious threat to the public health, safety, or welfare,
             or if the violation is irreparable or irreversible.” (Code 1957, § 2-35).

             44.     Chapter 2, Article VI, Division 1, Sec. 2-312, of the Riviera Beach Ordi-

     nances states that the following specific information must be provided with a citation:

             “Pursuant to F.S. § 162.21(c), a citation issued by a code enforcement of-
             ficer shall contain:
             (1)   The date and time of issuance.
             (2)   The name and address of the person to whom the citation is issued.
             (3)   The date and time the civil infraction was committed.


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            (4)   The facts constituting reasonable cause.
            (5)   The number or section of the code or ordinance violated.
            (6)   The name and authority of the code enforcement officer.
            (7) The procedure for the person to follow in order to pay the civil penalty
            or to contest the citation.
            (8)   The applicable civil penalty if the person elects to contest the citation.
            (9) The applicable civil penalty if the person elects not to contest the ci-
            tation.
            (10) A conspicuous statement that if the person fails to pay the civil pen-
            alty within the time allowed, or fails to appear in court to contest the cita-
            tion, he shall be deemed to have waived his right to contest the citation and
            that, in such case, judgment may be entered against the person for an amount
            up to the maximum civil penalty. (Code 1957, § 2-35.1)”

            45.     Chapter 22, Article II, Division 1, Sec. 22-35, of the Riviera Beach Ordi-

     nances also requires a building official provide written notice of violation regarding any

     unsafe building, containing the specific information describing the unsafe condition:

            “Whenever the building official has determined that such structure, property
            or portion thereof is unsafe, the building official shall prepare a written no-
            tice of violation and notice of pending administrative action to the owner of
            record as identified by a search of the public records in and for the Palm
            Beach County. Should the building official and the city engineer or their
            designees jointly determine that the structure, property or portion thereof
            presents an immediate and genuine threat to the safety of individuals or the
            public at large, the city may take any action necessary to abate such threat,
            including, but not limited to, the demolition of the structure without provid-
            ing the procedural safeguards set forth below.
            (1) The notice of violation shall contain, but not be limited to, the follow-
            ing information:
            a. The street address and legal description or property control number of
            the building, structure, or property.
            b. A statement indicating the building or structure has been declared unsafe by
            the building official, and a summary of the conditions that led to the building offi-
            cial's determination.” (Ord. No. 2971, § 5, 6-16-04).




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            46.       Welles then provided Richards with a copy of a report from a qualified

     professional engineer, which stated that the building was safe to occupy, hoping that he

     would issue the COU.

            47.     Welles then complained at a meeting of the City Commissioners regarding

     the refusal to process the application, but they did nothing to rectify same.

            48.     Goldwire, the unlicensed building inspector, was assisting Richards in re-

     fusing to issue the COU and refusing to issue any written citation or warning advising

     Welles what was allegedly noncompliant with his Rental Property.

            49.     Riveria Beach, Richards and Goldwire knew that Plaintiff had entered into

     the Lease with Tangela Hill, that she had taken occupancy of the leasehold premises, that

     she could not open her Salon Business without issuance of the COU/BTA, and that she

     would probably move out and not honor her Lease if that she could not open her Salon

     Business.

            50.     Neither Richards nor anyone else on behalf of Riviera Beach issued any

     warnings, citations or notices of violations and remained steadfast in refusing process to

     issue the COU.

            51.     Notably, the same space had been occupied for years by another barbershop

     business.

            52.     Because Richards and Riviera Beach refused to process and issue the appli-

     cation for the COU/BTA, Tangela Hill vacated the premises and abandoned the Lease and

     vacated the leasehold premises in 2018, resulting in damages to ANV.

            53.     On October 23, 2018, following ANV’s aforesaid loss of its tenant,

     Richards caused a stop work order to be issued against Plaintiff, relating to “mini-splits”




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     air-conditioners having been changed out in the residential units on the second floor of the

     Building. Said citation threatened to shut electrical power to the entire building, not just

     the residential unit, if permits were not pulled by Plaintiff within 72 hours/

            54.     The threat to shut off to the entire Building, as opposed to just the effected

     residential unit, was completely improper and unlawful.

            55.     The allowance of only 72 hours to pull the required permits was arbitrary

     and unreasonable.

            56.     Thereafter, Riviera Beach contacted Plaintiff’s residential tenants and

     advised them to stop paying rent to Plaintiff, which was improper and unlawful.

            57.     Plaintiff pulled all required permits and fully complied with the stop work

     order, although no work had been done for nearly one year prior to the stop work order.

            58.     During this same time, officials of Riviera Beach refused for no justifiable

     reason to issue sign permits for legal tenants in Building that had occupied their leasehold

     space for more than 30 years.

            59.     Because of the refusal of Riveria Beach, the City Manager, Richards and

     Goldwire to follow their procedural due process requirements and give written notice to

     Welles and ANV regarding what was allegedly non-compliant with the Rental Property,

     they had no available procedural remedy for review and/or appeal by Riviera Beach.

            60.     Because of the refusal of Riveria Beach, the City Manager, Richards and

     Goldwire to follow their procedural due process requirements and give written notice to

     Welles and ANV regarding what was allegedly non-compliant with the Rental Property,

     they could not pursue a “first tier” certiorari review the Circuit Court, since there was no

     record or written citation or warning.




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             61.     Because the pervasive pattern of noncompliance and threats to continue to

     refuse to act in the future by Riveria Beach and Richards, Welles and ANV could not

     pursue a mandamus action in Circuit Court, since mandamus does not lie to prevent future

     harm or where continued judicial supervision is required as in the instant case.

             62.     The police misconduct and Riviera Beach’s failure to arrest and charge the

     police officer, the threats against Welles by other police officers not to press charges, the

     harassment of patrons on the Rental Property, the outright denial of procedural due process

     rights in refusing to issue the COU, and the tortious interference by telling tenants them

     not to pay rent, is part of a long term and pervasive custom and practice of Riviera Beach

     and its officials.

             63.     As in the case of Fane Lozman, Welles has come to learn that Riveria Beach

     officials, including commissioners, have intent on driving him out of Riveria Beach.

                               FIRST CAUSE OF ACTION
                             (Violation of Fourth Amendment)
           (Welles and Macaw against John Doe 1, John Does 2-4 and Riviera Beach)

             64.     Plaintiff re-alleges and re-avers paragraphs 1 through 63 above as though

     fully re-written herein.

             65.     The Fourth Amendment is made applicable to the States by the Fourteenth

     Amendment to the United States Constitution.

             66.     Welles and his company, Macaw, have the right under the Fourth Amend-

     ment to the United States Constitution not be subjected to unjustified force or excessive

     force by police officers and not to be subjected to meaningful interference with their pos-

     sessory interests in business, occupation and/or property, because it violates the prohibition

     against unreasonable seizures.




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             67.     John Doe 1’s aforesaid conduct was unjustified and not “objectively rea-

     sonable” in light of the facts and circumstances.

             68.     John Doe 1’s aforesaid conduct was unjustified force and excessive force,

     which subjected Welles and Macaw to a meaningful interference with their possessory in-

     terests in their Liquor Store business and occupation and property, and deprived them of

     their Fourth Amendment right to not be subjected to unreasonable seizures.

             69.     John Does 2-4 aforesaid conduct was likewise unjustified force and exces-

     sive force, which subjected Welles and Macaw to a meaningful interference with their pos-

     sessory interests in their Liquor Store business and occupation and property, and deprived

     them of their Fourth Amendment right to not be subjected to unreasonable seizures.

             70.     John Doe 1 was acting under color of state law when he acted as aforesaid

     and brandished his police badge and gun.

             71.     John Does 2-4 were acting under color of state law when they threatened

     Welles not to press charges against John Doe 1.

             72.     Riviera Beach was the moving force behind John Doe 1’s and John Does’

     2-4 deprivation of the constitutional rights of Welles and Macaw, because the conduct of

     John Doe 1 and John Does 2-4 was the direct and proximate result of an aforesaid perva-

     sive, custom, policy, and practice of allowing police officers and governmental officials to

     violate the constitutional rights of Plaintiffs and others.

             73.     Further, Riviera Beach acted with deliberate indifference to the constitu-

     tional rights of Welles and Macaw, by failing to take appropriate action against John Doe

     1, and Riviera Beach had “actual or constructive notice” that its actions or failure to act




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     was substantially certain to result in said constitutional violations, and it consciously and

     deliberately chose to disregard the risk of harm.

            74.      As a direct and primate result of said deprivation constitutional rights,

     Welles and Macaw sustained general and special damages.

            75.      The aforesaid deprivation of the constitutional rights of Welles and Macaw

     by John Doe 1, John Does 2-4 and Riviera Beach was willful, wanton and/or in reckless

     disregard for the rights of Welles and Macaw.

             WHEREFORE, Welles and Macaw demand judgment against John Doe 1, John

     Does 2-4 and Riviera Beach, jointly and severally, pursuant to 42 U.S.C. §1983, for general

     and special damages, pre-judgment and post judgment interest, punitive damages, attor-

     ney’s fees costs, and any other relief this Court deems just and proper.

                                  SECOND CAUSE OF ACTION
                  (Violation of Fourteenth Amendment-Procedural Due Process)
                      (Welles and ANV against Richards and Riviera Beach)

            76.      Plaintiff re-alleges and re-avers paragraphs 1 through 63 above as though

     fully re-written herein.

            77.      The Fourteenth Amendment is made applicable to the States by the Four-

     teenth Amendment to the United States Constitution.

            78.      The procedural due process of the Fourteenth Amendment protects land use

     and property rights, as state-created property rights.

            79.      The procedural due process of the Fourteenth Amendment protects the

     rights of Welles and ANV to have notice as to why the Rental Property was allegedly

     noncompliant and then an opportunity to be heard before a fair and impartial administrative

     tribunal, which is actual codified in the aforesaid ordinances of Riviera Beach.




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            80.      Welles and ANV were deprived of their procedural due process rights by

     the City Manager’s, Richards’ and Goldwire’s refusal to issue the COU and follow their

     procedural due process requirements and give written notice to Welles and ANV regarding

     what was allegedly non-compliant with the Rental Property.

            81.      Their actions were also arbitrary and capricious and of such a substantial

     departure from accepted norms as to demonstrate that these decisionmakers "did not actu-

     ally exercise professional judgment.

            82.      The state did not afford Welles and ANV adequate procedural rights prior

     to depriving them of their protected interest: a) because they had no available procedural

     remedy within the Riviera Beach review and appeal process given the lack of a required

     written notice via a citation or warning to Welles and ANV regarding what was allegedly

     non-compliant with the Rental Property; b) they could not pursue a “first tier” certiorari

     review the Circuit Court, since there was no record or written citation or warning; and they

     could not pursue a mandamus action in Circuit Court, since mandamus does not lie to pre-

     vent future harm or where continued judicial supervision is required as in the instant case.

            83.      Richards and Goldwire were acting under color of state law when they acted

     as aforesaid.

            84.      The City Manager was acting under color of state law when he failed to take

     nay corrective action.

            85.      Riviera Beach was the moving force behind this deprivation of the consti-

     tutional rights of Welles and ANV, because the conduct of Richards and Goldwire was the

     direct and proximate result of an aforesaid pervasive, custom, policy, and practice of al-

     lowing police officers and governmental officials to violate the constitutional rights of




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     Plaintiffs and others, and because the City Manager was the ultimate policy making official

     on the matter.

             86.      As a direct and primate result of said deprivation constitutional rights,

     Welles and ANV sustained general and special damages, including the loss of renal in-

     come.

             87.      Further, Welles and ANV shall continue to suffer deprivation of the consti-

     tutional rights and the damages if Riveria Beach and Richards are not enjoined from con-

     tinuing its pattern of noncompliance with its own ordinances and enjoined from continuing

     to violate their constitutional rights.

             88.      The aforesaid deprivation of the constitutional rights of Welles and ANV

     by John Doe 1, John Does 2-4 and Riviera Beach was willful, wanton and/or in reckless

     disregard for the rights of Welles and Macaw.

             WHEREFORE, Welles and ANV demand judgment against Richards and Riviera

     Beach, jointly and severally, pursuant to 42 U.S.C. §1983, for general and special damages,

     pre-judgment and post judgment interest, punitive damages, attorney’s fees costs, injunc-

     tive relief, enjoining Riviera Beach and Welles from continuing their pattern of noncom-

     pliance with Riviera Beach’s ordinances and enjoining them from continuing to violate

     their constitutional rights, and any other relief this Court deems just and proper.

                                THIRD CAUSE OF ACTION
         (Conspiracy to Violate of Fourteenth Amendment-Substantive Due Process)
       (Welles, ANV and Macaw against John Doe 1, John Does 2-4 and Riviera Beach)

             89.      Plaintiff re-alleges and re-avers paragraphs 1 through 63 above as though

     fully re-written herein.




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             90.     The Fourteenth Amendment is made applicable to the States by the Four-

     teenth Amendment to the United States Constitution.

             91.     Substantive due process of the Fourteenth Amendment protects against the

     unjustified infringement of a liberty interest in pursuing a common occupation or profes-

     sion of life by a governmental body that shocks the conscience, including the right not to

     be subjected to arbitrary or irrational zoning decisions that shock the conscience.

             92.     The aforesaid conduct of John Doe 1 in holding up the Liquor store and

     then shooting out its lights with his two accomplices, the conduct of John Does 2-4 in

     threatening Welles and the store clerk, the conduct of Riviera Beach in not pursuing

     charges against John Doe 1, the conduct of Riviera Beach in hiring and allowing a person

     to act unlawfully as an unlicensed building inspector (Goldwire), the conduct of Richards

     and Goldwire in refusing to issue the COU and refusing to issue a written citation or warn-

     ing, the conduct of Riviera Beach officials in telling ANV’s tenant not to pay rent, the

     conduct of the City Manager in not doing anything to correct the misconduct of Richards

     and Goldwire, and the conduct of the Riviera police department in harassing ANV’s pa-

     trons, combined with Riviera Beach’s pervasive pattern of violating other person’s consti-

     tutional rights, violated Welles’, ANV’s and Macaw’s substantive due process rights in

     that said conduct was an unjustified infringement of a liberty interest in pursuing a common

     occupation or profession of life and intereference with property rights by a governmental

     body that shocks the conscience.

             93.     John Doe 1, John Does 2-4, Richards and Goldwire was acting under color

     of state law.




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             94.     Riviera Beach was the moving force behind said constitutional rights of

     Welles and Macaw, because the conduct of John Doe 1, John Does 2-4, of Richards, Gold-

     wire and the City Manager was the direct and proximate result of an aforesaid pervasive,

     custom, policy, and practice of allowing police officers and governmental officials to vio-

     late the constitutional rights of Plaintiffs and others.

             95.     Riviera Beach, Welles and Macaw, John Doe 1, John Does 2-4, of Richards,

     Goldwire and the City Manager entered into a conspiracy to drive Welles out of Riveria

     Beach and inflict retribution against him, by violating the constitutional rights of Welles,

     and companies he owned, AMV and Macaw, which they carried out in a concerted manner

     by acting as foresaid.

             96.     As a direct and primate result of said deprivation constitutional rights,

     Welles, ANV and Macaw sustained general and special damages.

             97.     The aforesaid deprivation of the constitutional rights of Welles, ANV and

     Macaw by John Doe 1, John Does 2-4 and Riviera Beach was willful, wanton and/or in

     reckless disregard for the rights of Welles and Macaw.

             WHEREFORE, Welles, ANV and Macaw demand judgment against John Doe 1,

     John Does 2-4 and Riviera Beach, jointly and severally, pursuant to 42 U.S.C. §1983, for

     general and special damages, pre-judgment and post judgment interest, punitive damages,

     attorney’s fees costs, and any other relief this Court deems just and proper.

                                    FOURTH CAUSE OF ACTION
                                (Declaratory Judgment-State Law Claim)
                                      (ANV against Riviera Beach)

             98.     Plaintiff re-alleges and re-avers paragraphs 1 through 63 above as though

     fully re-written herein.




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             99.       ANV brings this claim for declaratory judgment, pursuant to Fla Stat.

     §86.011 et. seq.

             100.      ANV contends Riviera Beach violated its ordinances because it could not

     deny issuance of the COU predicated on alleged non-compliance of the Building, without

     advising ANV what was allegedly non-complaint by issuing a written warning and/or ci-

     tation. Riviera Beach denies that it has any such obligation and contends that its building

     inspectors can simply place the burden on property to owners to advise the city what is

     non-complain with their building.

             101.      A determination as to the rights and obligations of ANV and Riviera Beach

     will be of material help in resolving this controversy and is required of the Court.

             102.      All of the proper parties are before the Court for a determination.

             103.      The parties have an actual, present, adverse and antagonistic view of their

     rights and obligations in this regard.

             104.      There is a bona fide, actual, present practical need for a declaration, and the

     declaration deals with a present, ascertained state of facts or a present controversy as to a

     state of facts.

             105.      The rights, obligations and privileges of the parties are dependent upon the

     facts or the law applicable to the facts.

             106.      All adverse interests are before the Court.

             107.      The relief sought herein is not merely the giving of legal advice by the

     courts or the answer to questions propounded from curiosity.

             108.      There is a real and present need for a Court determination of the rights and

     obligations of the parties in this regard.




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            109.    As a direct and proximate result of the aforesaid refusal to issue the COU

     under the circumstances, ANV lost its tenant and sustained damages.

            WHEREFORE, ANV respectfully requests that this Court enter judgment, declar-

     ing: that Riviera Beach cannot place the burden on property owners to advise the city and

     its officials as to how their property is non-complaint and use the property owner’s failure

     to do so as a predicate to deny a COU or other property rights; that Riviera Beach and its

     officials violated their own ordinances by refusing to issue the COU under the circum-

     stances; for an award of money damages, attorney’s fees and for all other relief deemed

     appropriate.




                                   DEMAND FOR JURY TRIAL

     Plaintiff hereby demands a trial by jury of all issues so triable as a matter of right.

                                                    Respectfully submitted,

                                                    By: /s/ Gregory R. Elder
                                                        Gregory R. Elder

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